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                         EXHIBIT 2
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Kyle Jeffery Schwark vs.                                           Deposition of Captain Daniel Muldoon
Sheriff Fred Wegener, et al.                                                             August 21, 2017

 ·1·     · · · · ·IN THE UNITED STATES DISTRICT COURT
 · ·     · · · · · · ·FOR THE DISTRICT OF COLORADO
 ·2
 · ·     ·Civil Action No. 15-CV-02507-JLK
 ·3·     ·____________________________________________________

 ·4· ·KYLE JEFFERY SCHWARK,

 ·5· · · · Plaintiff,

 ·6· ·vs.

 ·7·     ·SHERIFF FRED WEGENER, in his official and individual
 · ·     ·capacities;
 ·8·     ·NURSE SUSAN CANTERBURY, in her individual capacity;
 · ·     ·NURSE JERI SWANN, in her individual capacity;
 ·9·     ·NURSE CATHLENE PEARCE, in her individual capacity;
 · ·     ·DOCTOR KATHERINE FITTING, in her individual
 10·     ·capacity;
 · ·     ·CAPTAIN DANIEL MULDOON, in his individual capacity.
 11
 · ·     · · · Defendants.
 12·     ·____________________________________________________

 13· · · · · ·DEPOSITION OF CAPTAIN DANIEL MULDOON
 · · · · · · · · · · · ·August 21, 2017
 14· ·____________________________________________________

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                                                                                                Page 2
 ·1· ·APPEARANCES:

 ·2
 · ·     ·ON     BEHALF OF THE PLAINTIFF:
 ·3·     · ·     · ANDREW MCNULTY, ESQ.
 · ·     · ·     · Killmer, Lane & Newman, LLP
 ·4·     · ·     · 1543 Champa Street, Suite 400
 · ·     · ·     · Denver, Colorado· 80202
 ·5·     · ·     · Phone:· 303-571-1000
 · ·     · ·     · Email:· Amcnulty@kln-law.com
 ·6

 ·7·     ·ON BEHALF OF THE DEFENDANTS SHERIFF FRED WEGENER,
 · ·     ·NURSE SUSAN CANTERBURY, NURSE JERI SWANN, NURSE
 ·8·     ·CATHLENE PEARCE and CAPTAIN DANIEL MULDOON:
 · ·     · · · ERIC M. ZIPORIN, ESQ.
 ·9·     · · · Senter, Goldfarb & Rice, LLC
 · ·     · · · 3900 East Mexico Avenue, Suite 700
 10·     · · · Denver, Colorado· 80210
 · ·     · · · Phone:· 303-320-0509
 11·     · · · Email:· eziporin@sgrllc.com

 12
 · ·     ·ON     BEHALF OF THE DEFENDANT DOCTOR KATHERINE FITTING:
 13·     · ·     · STEVEN A. MICHALEK, ESQ.
 · ·     · ·     · Childs McCune, LLC
 14·     · ·     · 821 17th Street, Suite 500
 · ·     · ·     · Denver, Colorado· 80202
 15·     · ·     · Phone:· 303-296-7300
 · ·     · ·     · Email:· smichalek@childsmccune.com
 16

 17· ·Also Present:· Kyle Jeffrey Schwark

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 ·1· · · · · · ·A.· ·250 beds.
 ·2· · · · · · ·Q.· ·And how many inmates normally occupy
 ·3· ·the jail?
 ·4· · · · · · ·A.· ·In 2007, the average daily population
 ·5· ·was 215.· In 2015, the average daily population was,
 ·6· ·I believe, 420.· It fluctuates a lot dependent on the
 ·7· ·other agencies who place offenders in our jail.
 ·8· · · · · · ·Q.· ·And how many deputies do you have on
 ·9· ·staff to monitor those inmates?
 10· · · · · · ·A.· ·18.
 11· · · · · · ·Q.· ·And how many nurses?
 12· · · · · · ·A.· ·Three.
 13· · · · · · ·Q.· ·And you're the only Captain at the
 14· ·jail, right?
 15· · · · · · ·A.· ·Yes, sir.
 16· · · · · · ·Q.· ·And is the Captain of the jail kind
 17· ·of like the head honcho?
 18· · · · · · ·A.· ·Division Commander.
 19· · · · · · ·Q.· ·Division Commander.· What does that
 20· ·mean?
 21· · · · · · ·A.· ·That means I report to the
 22· ·Undersheriff, who then reports to the Sheriff.
 23· ·That's my chain of command.
 24· · · · · · ·Q.· ·And then who reports to you?
 25· · · · · · ·A.· ·I have -- depending. I have

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 ·1· ·Sergeants, Corporals, and we run through the chain
 ·2· ·of command, so I'll talk to the Sergeants and maybe
 ·3· ·to the Corporals.· But when I talk to the deputies,
 ·4· ·it's more general.
 ·5· · · · · · ·Q.· ·So you're not giving them specific
 ·6· ·tasks, you're just talking to them generally about
 ·7· ·what duties they should perform?
 ·8· · · · · · ·A.· ·What's going on, yes.
 ·9· · · · · · ·Q.· ·Gathering information about the jail?
 10· · · · · · ·A.· ·Yes.· Mostly, it goes through the
 11· ·Sergeants.
 12· · · · · · ·Q.· ·But would you say that the buck stops
 13· ·with you at the jail?
 14· · · · · · · · · MR. ZIPORIN:· Object to the form of
 15· ·the question.
 16· · · · · · · · · You can answer.
 17· · · · · · ·A.· ·Well, let me think on that for a
 18· ·minute.
 19· · · · · · · · · It does, but I report up my chain to
 20· ·the Undersheriff and the Sheriff, so --
 21· · · · · · ·Q.· ·(By Mr. McNulty)· Do they have any --
 22· ·do the Undersheriff and Sheriff have any -- any
 23· ·control of the day-to-day operations of the jail?
 24· ·Are they involved in the decision-making about the
 25· ·day-to-day operations of the jail; the Undersheriff

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 ·1· ·and the Sheriff?
 ·2· · · · · · ·A.· ·In regards to major issues, yes.
 ·3· · · · · · ·Q.· ·Like what kind of major issues?
 ·4· · · · · · ·A.· ·Right now, I have a contract from the
 ·5· ·Department of Corrections to house 100 Department of
 ·6· ·Corrections' offenders, and I ran that past the
 ·7· ·Undersheriff and the Sheriff when I was approached
 ·8· ·by the Department of Corrections.· That's a fairly
 ·9· ·big deal.
 10· · · · · · ·Q.· ·Certainly.
 11· · · · · · · · · What about decisions with regard to
 12· ·individual inmates?
 13· · · · · · ·A.· ·Not often, no.· It would have to be
 14· ·extraordinary.
 15· · · · · · ·Q.· ·So you are more involved with that
 16· ·than the Sheriff and the Undersheriff?
 17· · · · · · ·A.· ·Yes, sir.
 18· · · · · · ·Q.· ·But you would be the final
 19· ·decisionmaker with regard to decisions about individual
 20· ·individual inmates, right?
 21· · · · · · ·A.· ·Depending on what category of
 22· ·decision.
 23· · · · · · ·Q.· ·Well, what categories of decisions are
 24· ·you the final decisionmaker for?
 25· · · · · · ·A.· ·I respond to grievances.· I can make

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 ·1· ·decisions about criminal charges or in-house
 ·2· ·charges.· I make decisions about housing.· How we
 ·3· ·are going to manage the offenders.· But if we were
 ·4· ·going to talk about medical decisions, I am not the
 ·5· ·ultimate decisionmaker.
 ·6· · · · · · ·Q.· ·And that's because you're not a
 ·7· ·nurse, right?
 ·8· · · · · · ·A.· ·Or a doctor.
 ·9· · · · · · ·Q.· ·You're not a nurse or a doctor,
 10· ·right?
 11· · · · · · ·A.· ·Right.
 12· · · · · · ·Q.· ·So you don't have any specialized
 13· ·training in terms of medical training, right?
 14· · · · · · ·A.· ·No.
 15· · · · · · ·Q.· ·And the nurses who work for you,
 16· ·they're good nurses, right?
 17· · · · · · ·A.· ·They're registered nurses.
 18· · · · · · ·Q.· ·And so when they give you advice
 19· ·about a proper course of treatments for medical --
 20· ·medical treatment for inmates, you would have no
 21· ·reason to disagree with that assessment, right?
 22· · · · · · ·A.· ·Right.
 23· · · · · · ·Q.· ·And you've seen that they give good
 24· ·treatment, right?
 25· · · · · · ·A.· ·Yes.

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 ·1· · · · · · ·Q.· ·And they're honest people, right?
 ·2· · · · · · ·A.· ·Yes.
 ·3· · · · · · ·Q.· ·Particularly Nurse Pearce.· She's an
 ·4· ·honest person, right?
 ·5· · · · · · ·A.· ·Of course she doesn't work for us
 ·6· ·anymore, but I believe she is.
 ·7· · · · · · ·Q.· ·And Nurse Swann is an honest person,
 ·8· ·right?
 ·9· · · · · · ·A.· ·Yes, sir.
 10· · · · · · ·Q.· ·And Nurse Canterbury is an honest
 11· ·person, correct?
 12· · · · · · ·A.· ·Yes, sir.
 13· · · · · · ·Q.· ·And they all have good medical
 14· ·judgment from what you've seen, right?
 15· · · · · · ·A.· ·In my experience, yes, sir.
 16· · · · · · ·Q.· ·And so if they -- and you wouldn't
 17· ·have any reason to disbelieve their medical
 18· ·assessment of an inmate, would you?
 19· · · · · · ·A.· ·No.· Never have.
 20· · · · · · ·Q.· ·All right.· Now, do the nurses report
 21· ·to you?
 22· · · · · · ·A.· ·Not -- well, I guess I am ultimately
 23· ·their boss, but they don't report to me about
 24· ·medical things.· They tell me about medical things,
 25· ·but not report to me.· Like, I think maybe we need

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 ·1· ·the offender, my question is, "Do we do it in a cop
 ·2· ·car or do we have to use an ambulance?"· And if it's
 ·3· ·an ambulance, then we worry about whether we can
 ·4· ·have a chase car, or if the Deputy has to ride in
 ·5· ·the ambulance with the offender.· That's where I
 ·6· ·start moving in on this.· I don't make the decision.
 ·7· · · · · · · · · I don't agree or disagree with
 ·8· ·whether anybody goes to the hospital or anyplace
 ·9· ·else.· I just worry about the arrangements and how
 10· ·we're going to do it.
 11· · · · · · ·Q.· ·So, if a nurse has said you are the
 12· ·one who prevented someone from going out to get
 13· ·medical treatment, you would disagree with that?
 14· · · · · · ·A.· ·I strongly --
 15· · · · · · · · · MR. ZIPORIN:· Object to the form.
 16· · · · · · · · · You can answer.
 17· · · · · · ·Q.· ·(By Mr. McNulty)· You can answer.
 18· · · · · · ·A.· ·Yes, I would disagree with that.
 19· · · · · · ·Q.· ·Okay.· So, who are the nurses'
 20· ·supervisors who are on the law enforcement side
 21· ·within the jail?
 22· · · · · · ·A.· ·The nurses' supervisors?
 23· · · · · · ·Q.· ·Correct.
 24· · · · · · ·A.· ·Just me.
 25· · · · · · ·Q.· ·Just you?

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 ·1· · · · · · ·A.· ·Yes.
 ·2· · · · · · ·Q.· ·So, it's a straight line from the
 ·3· ·nurses to you in terms of the law enforcement -- in
 ·4· ·terms of a law enforcement supervisor for the
 ·5· ·nurses.
 ·6· · · · · · ·A.· ·Yes.
 ·7· · · · · · ·Q.· ·Now, do you set policies for the
 ·8· ·jail?
 ·9· · · · · · ·A.· ·No.· I might suggest them.· I might
 10· ·write them in draft form, but the Sheriff is the one
 11· ·who signs the policies.
 12· · · · · · ·Q.· ·Okay.· Has the Sheriff implemented
 13· ·policies that you suggested in the past?
 14· · · · · · ·A.· ·Say it again.
 15· · · · · · ·Q.· ·Has the Sheriff implemented policies
 16· ·that you've suggested in the past?
 17· · · · · · ·A.· ·Yes.
 18· · · · · · ·Q.· ·Okay.· And would you say you're
 19· ·pretty familiar with the policies and customs at the
 20· ·Park County Jail?
 21· · · · · · ·A.· ·Yes, except we just recently changed
 22· ·our policies this year, so I'm less familiar with
 23· ·the new ones than I am with the old ones.
 24· · · · · · ·Q.· ·Well, that's fine because we're not
 25· ·going to talk about the new ones --

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 ·1· · · · · · ·Q.· ·Okay.· Now, do you remember when
 ·2· ·Mr. -- Mr. Schwark was arrested and taken back to
 ·3· ·jail?· Do you remember appearing at a hearing in
 ·4· ·front of a judge with him and talking about the
 ·5· ·furlough?
 ·6· · · · · · ·A.· ·Yes, sir.
 ·7· · · · · · ·Q.· ·And do you remember what happened at
 ·8· ·that hearing?
 ·9· · · · · · ·A.· ·There was -- they had -- there was
 10· ·some discussion about the medication, and the -- I
 11· ·believe I said something about how our doctor trumps
 12· ·all the other doctors, and so whatever goes on in
 13· ·the jail is -- is the purview of Dr. Fitting.
 14· · · · · · ·Q.· ·And is that policy --
 15· · · · · · ·A.· ·Yes.
 16· · · · · · ·Q.· ·Is that a policy; that your doctor
 17· ·trumps all other doctors?
 18· · · · · · ·A.· ·Yes.
 19· · · · · · ·Q.· ·Okay.· Thank you.
 20· · · · · · · · · Sorry.· We were talking over each
 21· ·other a little bit there.
 22· · · · · · · · · All right.· And do you remember if
 23· ·Sheriff Wegener was present at that hearing?
 24· · · · · · ·A.· ·I don't remember.
 25· · · · · · ·Q.· ·Okay.· And what did the judge say to

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 ·1· ·you about -- after you said that your doctor trumps
 ·2· ·all other doctors?
 ·3· · · · · · ·A.· ·I don't remember.
 ·4· · · · · · ·Q.· ·Okay.· Did he order you to give
 ·5· ·Mr. Schwark his medication as prescribed?
 ·6· · · · · · · · · MR. ZIPORIN:· Object to the form.
 ·7· · · · · · ·Q.· ·(By Mr. McNulty)· You can answer it.
 ·8· · · · · · ·A.· ·No, sir.
 ·9· · · · · · ·Q.· ·Okay.· You don't remember whether he
 10· ·did or not, or do you remember if he did or not?
 11· · · · · · ·A.· ·The judges don't tell us what to do
 12· ·in the jail.
 13· · · · · · ·Q.· ·So the judge can't order you to do
 14· ·anything within the jail.· It's up to you guys to
 15· ·determine what kind of treatment you give the
 16· ·inmates and whether they get their medication or
 17· ·not, things like that?
 18· · · · · · · · · MR. ZIPORIN:· Objection.· Form.
 19· · · · · · · · · You can answer.
 20· · · · · · ·A.· ·The judges do not tell us what to do
 21· ·in the jail.· We make that very specific.
 22· · · · · · ·Q.· ·(By Mr. McNulty)· Okay.· All right.
 23· ·So the second time Mr. Schwark was in jail in
 24· ·February of 2014 --
 25· · · · · · ·A.· ·Yes, sir.

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 ·1· · · · · · ·Q.· ·How long do you save the tapes for?
 ·2· · · · · · ·A.· ·I believe they only last 45 days.
 ·3· · · · · · ·Q.· ·And then they're written over again,
 ·4· ·is that right?
 ·5· · · · · · ·A.· ·However that works digitally, yes.                                            I
 ·6· ·don't know how that works.
 ·7· · · · · · ·Q.· ·That's fair enough.
 ·8· · · · · · · · · Okay.· So, Mr. Schwark was placed
 ·9· ·back into Park County Jail on February 25th, 2014.
 10· ·Does that comply with your recollection?
 11· · · · · · ·A.· ·Yes.
 12· · · · · · ·Q.· ·And he was sent to Denver Health on
 13· ·March 10th, 2014.· Does that comply with your
 14· ·recollection?
 15· · · · · · ·A.· ·Yes.
 16· · · · · · ·Q.· ·Now, did you have any other
 17· ·interactions with Mr. Schwark between February 25th,
 18· ·2014, and March 10th, 2014?
 19· · · · · · ·A.· ·Not that I remember, no, sir.
 20· · · · · · ·Q.· ·Do you remember speaking with anyone
 21· ·about Mr. Schwark in that period of time?
 22· · · · · · ·A.· ·Nothing that I remember specific.
 23· · · · · · ·Q.· ·If another nurse testified that she
 24· ·had spoken with you about Mr. Schwark every day from
 25· ·March 5th until March 10th, 2014, would that comply

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 ·1· ·with your recollection?
 ·2· · · · · · · · · MR. ZIPORIN:· Object to the form of
 ·3· ·the question.
 ·4· · · · · · · · · You can answer.
 ·5· · · · · · ·A.· ·It's possible.· I don't recollect it,
 ·6· ·but it's possible.
 ·7· · · · · · ·Q.· ·(By Mr. McNulty)· Okay.· You'd have
 ·8· ·no reason to disbelieve that testimony?
 ·9· · · · · · ·A.· ·No.· I wouldn't argue with it, no.
 10· · · · · · ·Q.· ·Now, Mr. Schwark was transferred out
 11· ·of the jail on March 10th, 2014.· Do you -- does
 12· ·that comply with your recollection?
 13· · · · · · ·A.· ·I remember that, yes, sir.
 14· · · · · · ·Q.· ·And do you remember why he was
 15· ·transferred out?
 16· · · · · · ·A.· ·What I do remember is that March 10th
 17· ·was a Monday, and I went back with Sergeant Diavold
 18· ·to see -- so I must have had conversations with the
 19· ·nurses.· I just don't remember them specifically.
 20· · · · · · · · · And I went back to see what was going
 21· ·on, and quite possibly that was prompted because I
 22· ·could see on camera the condition of his cell.
 23· · · · · · · · · When we were back there, there was
 24· ·food, paper, clothing, bedding.· Everything was in
 25· ·disarray.

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 ·1· · · · · · · · · And having a conversation with
 ·2· ·Mr. Schwark was very difficult.· He was not lucid,
 ·3· ·he was not coherent, he was making no sense
 ·4· ·whatsoever.
 ·5· · · · · · · · · So, at some point, the decision was
 ·6· ·made, probably in a collaborative way, that he
 ·7· ·needed to go to the hospital where treatment beyond
 ·8· ·our capabilities might be called for.
 ·9· · · · · · ·Q.· ·And you said that there was a
 10· ·collaborative decision made in this case?
 11· · · · · · ·A.· ·Yes.
 12· · · · · · ·Q.· ·And so that's different than normal,
 13· ·because, previously, you said that you have no say
 14· ·in whether someone's transferred out because of --
 15· · · · · · ·A.· ·Yes.
 16· · · · · · ·Q.· ·-- mental health or --
 17· · · · · · ·A.· ·Yes.
 18· · · · · · ·Q.· ·-- medical problems.
 19· · · · · · ·A.· ·But when I saw the condition there,
 20· ·it's quite possible that I could have said, We gotta
 21· ·do something.· What do you want to do?· I don't
 22· ·recollect, but --
 23· · · · · · ·Q.· ·And did you speak with Mr. Schwark at
 24· ·that point?
 25· · · · · · ·A.· ·Attempted to.

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 ·1· · · · · · · · · MR. ZIPORIN:· Sure.
 ·2· · · · · · · · · (A recess was taken from 1:43 p.m. to
 ·3· ·1:50 p.m.)
 ·4· · · · · · ·Q.· ·(By Mr. McNulty)· So, what does your
 ·5· ·tattoo mean?
 ·6· · · · · · ·A.· ·This one?
 ·7· · · · · · ·Q.· ·On the back of your head, yeah.
 ·8· · · · · · ·A.· ·It's a second amendment tattoo.· At
 ·9· ·the Battle of Thermopylae, the Persian King told the
 10· ·Spartan King, Lay down your weapons.· He
 11· ·responded --
 12· · · · · · ·Q.· ·Come and get them.
 13· · · · · · ·A.· ·-- come and get them.
 14· · · · · · ·Q.· ·That's cool.· I respect that.· I have
 15· ·the First Amendment tattooed on my left leg.
 16· · · · · · ·A.· ·Outstanding.
 17· · · · · · ·Q.· ·Yeah.· So we share something in
 18· ·common here.
 19· · · · · · ·A.· ·Yes, sir.
 20· · · · · · ·Q.· ·So, turning to Exhibit 34, that says
 21· ·for the nurse -- on the first page of Exhibit 34 if
 22· ·you go down to the bottom, it says, "One of the
 23· ·specific duties of the nurse is to coordinate with
 24· ·jail supervisors regarding the scheduling and
 25· ·transporting of inmates for medical care."

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 ·1· · · · · · ·A.· ·Okay.
 ·2· · · · · · ·Q.· ·Now, tell me, does that mean that in
 ·3· ·order to have an inmate transported, they have to
 ·4· ·coordinate with the law enforcement personnel at the
 ·5· ·jail?
 ·6· · · · · · ·A.· ·Yes.
 ·7· · · · · · ·Q.· ·So, in order to get an inmate
 ·8· ·transferred out, they would need approval from a law
 ·9· ·enforcement personnel at the jail?
 10· · · · · · ·A.· ·Yes.
 11· · · · · · ·Q.· ·Okay.· Now, when you saw Kyle Schwark
 12· ·on March 10th, 2014, you said that he was suffering
 13· ·from some serious withdrawal symptoms, is that right?
 14· · · · · · ·A.· ·That was my belief, yes, sir.
 15· · · · · · ·Q.· ·And withdrawal is a pretty serious
 16· ·medical problem, right?
 17· · · · · · · · · MR. ZIPORIN:· Object to the form and
 18· ·foundation.
 19· · · · · · · · · MR. MICHALEK:· Same.
 20· · · · · · ·A.· ·Might be.
 21· · · · · · ·Q.· ·(By Mr. McNulty)· In your
 22· ·experience -- now, you had said he -- sorry.· Strike
 23· ·that.
 24· · · · · · · · · You had said you had made a decision
 25· ·to transfer Mr. Schwark out on March 10th, right, in

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 ·1· ·collaboration with the nurses?
 ·2· · · · · · ·A.· ·That's my belief, yes, sir.
 ·3· · · · · · ·Q.· ·Okay.· Now, do you normally -- what
 ·4· ·normally prompts you to transfer people out of the
 ·5· ·jail?
 ·6· · · · · · ·A.· ·Medical situations beyond our
 ·7· ·capabilities.
 ·8· · · · · · ·Q.· ·So serious medical problems prompt
 ·9· ·that?
 10· · · · · · ·A.· ·Yes.
 11· · · · · · ·Q.· ·So is it safe to say that on March
 12· ·the 10th, Kyle Schwark was suffering from some
 13· ·serious medical problems?
 14· · · · · · ·A.· ·Seemed to be.
 15· · · · · · ·Q.· ·Now, after Mr. Schwark came back from
 16· ·Denver Health, did you have any interactions with
 17· ·him?
 18· · · · · · ·A.· ·Yes.· One that I remember.
 19· · · · · · ·Q.· ·And what happened in that
 20· ·interaction?
 21· · · · · · ·A.· ·What I recollect was I walked past
 22· ·the kitchen, and I saw Kyle Schwark working at the
 23· ·dishwashing machine.· And I stopped in the doorway
 24· ·and I said, Schwark, how you doing?· And he said
 25· ·okay, or whatever he said.· And I said, You're

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 ·1· ·looking good.· You're looking a lot better.· Looks
 ·2· ·like things are working out for you.· Outstanding.
 ·3· ·Have a nice day.
 ·4· · · · · · · · · And I was -- I was very impressed
 ·5· ·with the progress he had made, and I believe I
 ·6· ·complimented him on his sobriety.
 ·7· · · · · · ·Q.· ·All right.· And is that the only
 ·8· ·other interaction that you've had with Mr. Schwark
 ·9· ·since then?
 10· · · · · · ·A.· ·I believe so.
 11· · · · · · ·Q.· ·Now, you've reviewed the logs about
 12· ·the treatment of Mr. Schwark while he was in the
 13· ·Park County Jail, is that right?
 14· · · · · · ·A.· ·The floor notes, yes, sir.
 15· · · · · · ·Q.· ·And do you think that the treatment
 16· ·of Mr. Schwark was by the book at the Park County
 17· ·Jail?
 18· · · · · · ·A.· ·Yes, sir, I think so.
 19· · · · · · ·Q.· ·So it complied with all the
 20· ·practices, customs and policies of the Park County
 21· ·Jail?
 22· · · · · · · · · MR. ZIPORIN:· Object to form.
 23· · · · · · · · · You can answer.
 24· · · · · · ·A.· ·I believe so.· We have been through
 25· ·numerous -- I can't tell you how many, but numerous

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 ·1· ·detoxes of offenders for numerous different
 ·2· ·substances.
 ·3· · · · · · · · · Two weeks ago, we detoxed two off of
 ·4· ·heroin.· Before that -- the week before that, two
 ·5· ·weeks before that, was someone coming off of meth.
 ·6· ·We have done numerous alcohol, numerous everything.
 ·7· ·And our practice and habit generally has a good
 ·8· ·result.
 ·9· · · · · · ·Q.· ·(By Mr. McNulty)· And so no one was
 10· ·disciplined for their interactions with Mr. Schwark
 11· ·during his two stays, were they?
 12· · · · · · ·A.· ·No.
 13· · · · · · ·Q.· ·And that's because everything was,
 14· ·you know, by the book, right?
 15· · · · · · ·A.· ·Yes.
 16· · · · · · ·Q.· ·Now, what kind of training is
 17· ·provided at the Park County Jail regarding mental
 18· ·health issues?
 19· · · · · · ·A.· ·Who -- training for who?
 20· · · · · · ·Q.· ·For deputies or even for yourself.
 21· ·What training do you go through?
 22· · · · · · ·A.· ·We have an annual suicidal offender
 23· ·training.· We stress interpersonal communications.
 24· ·Some staff -- and we have a very, very high turnover
 25· ·of staff -- but some staff at various times have

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 ·1· ·been to -- I'm trying to think of what it is -- CIT
 ·2· ·training for dealing with mental health offenders,
 ·3· ·people on the street.· Crisis intervention program.
 ·4· ·I've had verbal de-escalation training.
 ·5· · · · · · · · · But our job for deputies is custody,
 ·6· ·care and control.· So, it's security, not -- we are
 ·7· ·not a mental health facility.
 ·8· · · · · · · · · In fact, to illustrate that, the Park
 ·9· ·County Jail has a contract to hold parole violators
 10· ·through the Division of Adult Parole, and because of
 11· ·the issues that came up, we have begun screening
 12· ·parole violators and refusing any who have spent
 13· ·time in St. Carlos, which is the Department of
 14· ·Corrections' mental health unit.
 15· · · · · · · · · We are not a mental health facility.
 16· ·We are a jail.
 17· · · · · · · · · As far as the mental health training
 18· ·that registered nurses have, I have no knowledge of
 19· ·that.
 20· · · · · · ·Q.· ·Do you provide any separate training
 21· ·at Park County for the nurses outside of their
 22· ·training just to become an RN?
 23· · · · · · ·A.· ·Just as far as security goes.
 24· · · · · · · · · And just to expand on that, most
 25· ·nurses are caregivers, and they need to be trained

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 ·1· ·to say no.
 ·2· · · · · · ·Q.· ·Could you elaborate on that a little
 ·3· ·bit?
 ·4· · · · · · ·A.· ·Some offenders are drug seekers.· Some
 ·5· ·offenders have nothing else to do all day long but
 ·6· ·come up with real or imagined ailments.· Nurses need
 ·7· ·to be a little bit different in an incarceration
 ·8· ·setting than in a hospital setting.
 ·9· · · · · · ·Q.· ·So, they need to be trained to --
 10· ·when to not give inmates who are drug seeking what
 11· ·they're looking for, right?
 12· · · · · · ·A.· ·How to do a better assessment, a
 13· ·more thorough assessment.
 14· · · · · · ·Q.· ·And when to say no?
 15· · · · · · ·A.· ·Yes.
 16· · · · · · ·Q.· ·Is there any -- so, there's no
 17· ·training above and beyond what a nurse would get
 18· ·just to get her nursing degree provided by Park
 19· ·County, right?
 20· · · · · · · · · MR. ZIPORIN:· Object to the form and
 21· ·foundation.
 22· · · · · · ·A.· ·I don't know.
 23· · · · · · ·Q.· ·(By Mr. McNulty)· Well, does anyone
 24· ·provide training to nurses that you're aware of at
 25· ·the jail?

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 ·1· ·health problems, could they be placed into
 ·2· ·administrative segregation?
 ·3· · · · · · ·A.· ·The operative word being "danger"?
 ·4· · · · · · ·Q.· ·Sure.
 ·5· · · · · · ·A.· ·If they were a danger to themselves
 ·6· ·or from other offenders, then, yes, protective
 ·7· ·custody.
 ·8· · · · · · ·Q.· ·What if they weren't?· What if they
 ·9· ·were just having some mental health issues, where
 10· ·would they go?· Would they be placed in medical,
 11· ·would they be placed in the general population,
 12· ·would they be in --
 13· · · · · · ·A.· ·Oftentimes if it was just aberrant
 14· ·behavior, and we have -- we have a lot of that, then
 15· ·it would be lockdown in general population.
 16· · · · · · ·Q.· ·Is that when you lock them down for
 17· ·23 hours a day in their cells, and then -- or is
 18· ·that -- when you say "locked down" --
 19· · · · · · ·A.· ·Locked down, right.
 20· · · · · · ·Q.· ·-- does that mean that they're in
 21· ·their cell for 23 hours a day?
 22· · · · · · ·A.· ·Yes.· And, oftentimes, we try to
 23· ·reintegrate an offender back into general population
 24· ·and do so in stages.
 25· · · · · · · · · So, being locked down in the cell allows

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 ·1· ·them to interact through what we call the bean slot;
 ·2· ·the food tray opening.
 ·3· · · · · · · · · And then they also get to go out in
 ·4· ·the day hall on their hour out when the other
 ·5· ·offenders are locked down.
 ·6· · · · · · · · · MR. McNULTY:· Okay.· Those are the
 ·7· ·only questions I have.
 ·8· · · · · · · · · MR. MICHALEK:· I just have a couple of
 ·9· ·questions.
 10· · · · · · · · · · · ·EXAMINATION
 11· ·BY MR. MICHALEK:
 12· · · · · · ·Q.· ·I represent Dr. Fitting.
 13· · · · · · ·A.· ·Yes, sir.
 14· · · · · · ·Q.· ·It's nice to meet you.
 15· · · · · · · · · I just want to clarify.· During the
 16· ·second incarceration, the records indicate that
 17· ·Dr. Fitting did not have any more involvement with
 18· ·Mr. Schwark's physician after March 5th when his
 19· ·care was turned over to Dr. Cynthia Parker.· Do you
 20· ·have any reason to disagree with that?
 21· · · · · · ·A.· ·No, sir.
 22· · · · · · ·Q.· ·Okay.· So, with regard to the
 23· ·decision to transport him on March 10th to Denver
 24· ·Health, you don't have any reason to believe that
 25· ·Dr. Fitting was involved in that decision at that

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 ·1· ·time, correct?
 ·2· · · · · · ·A.· ·No, sir.
 ·3· · · · · · · · · MR. MICHALEK:· Okay.· Those are all
 ·4· ·the questions I have.
 ·5· · · · · · · · · MR. ZIPORIN:· I don't have any
 ·6· ·questions, and I can handle Muldoon's signature.
 ·7· · · · · · · · · MR. McNULTY:· No further questions
 ·8· ·for me either.
 ·9· · · · · · · · · COURT REPORTER:· Okay.· And are all
 10· ·of you going to order the same order that you've
 11· ·been ordering?
 12· · · · · · · · · MR. McNULTY:· Yes.
 13· · · · · · · · · MR. MICHALEK:· Yes.
 14· · · · · · · · · MR. ZIPORIN:· Yes, please.
 15· · · · · · · · · ·*· *· *· *· *· *                             *
 16· · · · · · ·(WHEREUPON, the foregoing deposition was
 17· ·concluded at the hour of 2:16 p.m.· Total time on
 18· ·the record was 1 hour and 20 minutes.)
 19
 20
 21
 22
 23
 24
 25

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 ·1· · · · · · ·I, CAPTAIN DANIEL MULDOON, the deponent in

 ·2· ·the above deposition, do hereby acknowledge that I have

 ·3· ·read the foregoing transcript of my testimony, and

 ·4· ·state under oath that it, together with any attached

 ·5· ·Amendment to Deposition pages, constitutes my sworn

 ·6· ·testimony.

 ·7
 · · · _____ I have made changes to my deposition
 ·8
 · · · _____ I have NOT made any changes to my deposition
 ·9

 10

 11

 12
 · · · · · · · · · · · · ·___________________________
 13· · · · · · · · · · · · CAPTAIN DANIEL MULDOON

 14

 15

 16· · · · · · ·Subscribed and sworn to before me

 17· ·this _____ day of ___________________, 20____.

 18

 19· · · · · · ·My commission expires:

 20· · · · · · · · · · · ·______________________.

 21
 · · · · · · · · · · · · ·_________________________
 22· · · · · · · · · · · · · · · · ·NOTARY PUBLIC

 23

 24

 25


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 ·1

 ·2· · · · · · CERTIFICATE OF DEPOSITION OFFICER

 ·3

 ·4

 ·5· · · · · · ·I, Karen J. Hathcock, do hereby certify

 ·6· ·that I am a Certified Merit Reporter, Registered

 ·7· ·Professional Reporter and Notary Public within and

 ·8· ·for the State of Colorado.

 ·9· · · · · · ·The following statement was taken in

 10· ·shorthand by me and was thereafter reduced to

 11· ·typewritten form, and that the foregoing constitutes

 12· ·a true and correct record.

 13· · · · · · ·I further certify that I am not related

 14· ·to, employed by, nor of counsel for any of the

 15· ·parties or attorneys herein, nor otherwise

 16· ·interested in the result of the within action.

 17· · · · · · ·My commission expires:· July 8, 2018.

 18

 19

 20·     ·   ·   ·   ·   ·     ·   ·   ·   ·    ·   ·________________________________
 · ·     ·   ·   ·   ·   ·     ·   ·   ·   ·    ·   · · ·Karen J. Hathcock
 21·     ·   ·   ·   ·   ·     ·   ·   ·   ·    ·   · · ·Certified Merit Reporter
 · ·     ·   ·   ·   ·   ·     ·   ·   ·   ·    ·   · · ·Registered Professional
 22·     ·   ·   ·   ·   ·     ·   ·   ·   ·    ·   · · ·Reporter
 · ·     ·   ·   ·   ·   ·     ·   ·   ·   ·    ·   · · ·Notary Public, State of
 23·     ·   ·   ·   ·   ·     ·   ·   ·   ·    ·   · · ·Colorado

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